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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA,         )
                                  )           CRIMINAL ACTION NO.
    v.                            )            2:07cr145-MHT
                                  )                (WO)
MARTELL DEWAN WATSON,             )
                                  )

                         OPINION AND ORDER

    Martell Dewan Watson filed a motion asking the court

to grant a weekend furlough from his incarceration at the

Federal Correctional Institution in Yazoo City, a low-

security facility in the Bureau of Prisons, to allow him

attend the funeral of his stepson.                   For the reasons

below, Watson’s request will be denied, albeit without

prejudice.

    Although Watson does not cite any authority or other

basis    on   which     the   court    may    grant   his    requested

furlough, the court assumes, as do probation and the

government in their responses to Watson’s request, that

Watson    relies   on    18   U.S.C.   §     3622.    That   statute
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provides for the temporary release of prisoners in the

custody of the Bureau of Prisons:

         “The Bureau of Prisons may release a
         prisoner   from    the   place   of   his
         imprisonment for a limited period if
         such release appears to be consistent
         with the purpose for which the sentence
         was imposed and any pertinent policy
         statement issued by the Sentencing
         Commission   pursuant     to  28   U.S.C.
         994(a)(2), if such release otherwise
         appears to be consistent with the public
         interest and if there is reasonable
         cause to believe that a prisoner will
         honor the trust to be imposed in him, by
         authorizing    him,    under   prescribed
         conditions, to ... visit a designated
         place for a period not to exceed thirty
         days, and then return to the same or
         another facility, for the purpose of ...
         attending a funeral of a relative.”

18 U.S.C. § 3622(a)(2).            No language in the statute

grants district courts the authority to order or approve

a furlough request.        See, e.g., U.S. v. Premachandra,

1996 WL 102567, 1 (8th Cir. 1996) (“18 U.S.C. § 3622

vests   authority    to   grant    medical    furloughs      with      the

Bureau of Prisons (BOP), not the federal courts.).                      In

addition,   the     federal     regulations      implementing          the



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statute clearly contemplate that the decision-maker will

be a Bureau of Prisons warden or acting warden.                        See,

e.g., 28 C.F.R. § 570.32(a) (“The authority to approve

furloughs in Bureau of Prisons institutions is delegated

to the Warden or Acting Warden. This authority may not be

further delegated.”).

    Although      the    court     is     sympathetic     to    Watson’s

request,   it     is    without    the    authority      to    grant    the

request.     It    appears      that     Watson’s   request      must    be

directed   to     the   staff     at    the   facility    where    he    is

presently housed.         See 28 C.F.R. § 570.36(a).

    Accordingly, it is ORDERED that defendant Martell

Dewan Watson’s motion for a furlough (doc. no. 163) is

denied without prejudice.

    DONE, this the 14th day of May, 2009.


                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE
